Case 2:21-cv-00821-SPC-MRM Document 11 Filed 12/02/21 Page 1 of 2 PageID 26




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION
LISA CASADO,

       Plaintiff,

v.                                             Case No.: 2:21-cv-821-SPC-MRM

UNITED OF OMAHA LIFE
INSURANCE COMPANY,

       Defendant.
                                          /

                                        ORDER1

       Before the Court is the parties’ Joint Unopposed Motion to Transfer

Venue to the United States District Court for the District of New Jersey. (Doc.

10). The parties ask the Court to transfer this ERISA case to the District of

New Jersey under 29 U.S.C. § 1132(e)(2) and 28 U.S.C. § 1404(a), because the

group disability insurance policy funded the plan in the District of New Jersey,

the Plan Administrator is in New Jersey, and the Plaintiff worked and resided

in New Jersey.       Based on these facts and because the parties consent to

transfer, the Court will transfer the case.




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Case 2:21-cv-00821-SPC-MRM Document 11 Filed 12/02/21 Page 2 of 2 PageID 27




     Accordingly, it is now

     ORDERED:

     1. The Joint Unopposed Motion to Transfer Venue to the United States

        District Court for the District of New Jersey (Doc. 10) is GRANTED.

     2. All deadlines, including the deadline for Defendant to respond to the

        Complaint and to file a Joint Planning and Scheduling Report as

        provided by this Court’s Order Setting Initial Planning and

        Scheduling Conference (Doc. 4), are stayed pending transfer.

     3. The Clerk is DIRECTED to transfer the case to the United States

        District Court for the District of New Jersey, Newark Division;

        terminate any pending motions and deadlines; and close the case.

     DONE and ORDERED in Fort Myers, Florida on December 2, 2021.




Copies: All Parties of Record




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